






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00010-CV






Michelle Brkich formerly known as Michelle Woodall, Appellant


v.


Jeffrey Daren Woodall, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 395TH JUDICIAL DISTRICT

NO. 99-1003-F368-395, HONORABLE MICHAEL JERGINS, JUDGE PRESIDING





C O N C U R R I N G  O P I N I O N


		Because I agree that the district court did not err when it issued its modification order,
I concur in the majority's result.  I write separately only to note my view, as expressed previously
in In re J.R.D., 169 S.W.3d 740 (Tex. App.--Austin 2005, pet. denied) (Puryear, J., concurring), 
that the current standards of review employed by courts in making and reviewing orders that have
the effect of limiting a parent's access to his or her child do not comport with the constitutional
nature and importance of a parent's right to raise his or her children, nor do they comport with the
legislative mandate regarding a parent's right to have access to his or her children.  See Troxel v.
Granville, 530 U.S. 57, 65 (2000) (parents have fundamental liberty interest with respect to their
relationships with their children that is constitutionally protected); Tex. Fam. Code Ann. § 153.193
(West 2002) (terms in order denying parent possession of child or restricting or limiting parent's
right to possess or access child "may not exceed those that are required to protect the best interest
of the child."); see also In re L.M.M., No. 03-04-00452-CV, 2005 Tex. App. LEXIS 7191 (Austin
Aug. 31, 2005, no pet.) (Puryear, J., concurring) (stating that, due to importance of rights at issue,
order limiting parent's access to her children should be reviewed for clear and convincing evidence). 
For this reason, I concur in the judgment of the court affirming the district court's modification
order.



						                                                                                  						David Puryear, Justice


Before Justices B. A. Smith, Puryear and Waldrop

Filed:   November 2, 2006



